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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


 CAROLYN BRIDGES, et al,
 individually and on behalf of all others
 similarly situated,

                Plaintiffs,                         Case No. 3:21-cv-1091-DWD

        v.

 BLACKSTONE, INC.,

                Defendant.


                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. App. P. 4(a)(1)(A), Plaintiffs Carolyn

Bridges and Raymond Cunningham hereby appeal to the United States Court of Appeals for the

Seventh Circuit from the Judgment in a Civil Action (Doc 43), the Court’s Text-Entry Order

directing entry of judgment and closing of case (Doc 42), and Memorandum and Order (Doc 41),

all ordered by the District Court for the Southern District of Illinois, Honorable David W. Dugan,

dated August 16, 2022, August 16, 2022, and July 8, 2022, respectively.

Dated: August 23, 2022                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and accurate copy of the foregoing was served
this 23rd day of August, 2022, by the Court’s CM/ECF filing system to Counsel of Record:


                                                    /s/ Gregory L. Shevlin




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